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  DANESH NOSHIRVAN

                                                                               2:23-cv-01218

  JENNIFER COUTURE

    PRO SE EMERGENCY MOTION FOR DEFAMATION AND INJUNCTIVE RELIEF BY NON-
                      PARTIES JOHN DOE AND JOHN DOE 2

  We, John Doe and John Doe 2, non-parties to this action, proceeding pro se, respectfully
  move this Court for an order ﬁnding Plainti Danesh Noshirvan liable for defamation per se
  and granting injunctive relief to prevent further harm, pursuant to Federal Rule of Civil
  Procedure 65 and Florida law. This motion is supported by the record, including our prior
  pleadings documenting Plainti ’s defamatory conduct (ECF Nos. 329, 330, 331, 332, 333)
  and Defendants’ ﬁling (ECF No. 334), as well as Plainti ’s response (ECF No. 296) explicitly
  equating us with Joseph A. Camp, and the following memorandum. For clarity, we assert
  there is no connection between Duane Morris LLP, ourselves (John Doe and John Doe 2),
  and no connection between ourselves and Joseph A. Camp, contrary to Plainti ’s claims.
  Additionally, none of the defamatory conduct attributed to Camp in the article or Plainti ’s
  pleadings is true.

  MEMORANDUM OF LAW

  I. INTRODUCTION

  On April 21, 2025, Plainti Danesh Noshirvan published a defamatory article titled
  "BREAKING! G G G Ghost! Joey Camp came back from the dead! Just in time to abuse
  subjects of Duane Morris LLP's depositions!" on his Substack page
  (https://thatdaneshguy.substack.com/p/breaking-g-g-g-ghost-joey-camp-came see also
  exhibit 1 attached as if in whole). Although the article does not name us, “John Doe” and
  “John Doe 2”, Plainti ’s prior pleadings, particularly ECF No. 296, his public statements,
  and his attorney’s conduct have consistently and falsely identiﬁed us as Joseph A. Camp.
  By falsely accusing Camp of criminal and defamatory acts—none of which are appear
  true—Plainti imputes those same defamatory statements to us, as ECF No. 296 explicitly
  states we are Camp’s aliases. Our prior pleadings (ECF Nos. 329, 330, 331, 332, 333)
  document Plainti ’s recent pattern of defamatory conduct against numerous individuals in
  this action, Joseph A. Camp, opposing counsel, and our interests (particularly in the
  ownership of OnlyFans content we lawfully purchased). These statements constitute
  defamation per se under Florida law, as they impute criminal activity, ruin our reputations,
  and expose us to public contempt. This Court has jurisdiction under 28 U.S.C. § 1332, and
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  venue is proper under 28 U.S.C. § 1391. As non-parties, we have standing to seek relief
  for defamation, as recognized in Doe v. Roe, 638 So. 2d 88, 90 (Fla. 4th DCA 1994).

  II. DEFAMATORY STATEMENTS

  The article contains the following statements, which, through Plainti ’s explicit
  identiﬁcation of us as Joey Camp in ECF No. 296 and other ﬁlings, defame us. We assert
  that all allegations of misconduct against Camp are false:

     1. "Last week, Joey Camp faked his own death after he learned that the judge caught
        on to his scheme of writing fake John Does and harassing the court with Joseph
        Camp’s famous daneshﬁles@yandex.com and Noshirvan@yandex.com email
        addresses." (Page 2)

            o   ECF No. 296 (Page 1) states we are “Joseph A. Camp (‘Camp’) a/k/a John Doe
                and John Doe 2,” falsely imputing to us Camp’s alleged criminal fraud and
                court harassment, which are untrue.

            o   It should be noted that daneshﬁles@yandex.com doesn’t even exist as an
                email -this is and has always been a complete falsity of Plainti .




     2. "Below, are the following emails I received from the …
        lawyers/goons/propagandists." (Page 3)
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            o   ECF No. 296 (Page 3) ties us to Camp’s alleged harassment of witnesses,
                falsely portraying us as “goons” and “propagandists” engaged in abusive
                acts, which are baseless claims.

            o   We did not send those emails – though we do use the email address
                noshirvan@yandex.com.

  These statements are defamatory because Plainti ’s pleading in ECF No. 296 explicitly
  identiﬁes us as Joey Camp, stating, “Joseph A. Camp (‘Camp’) a/k/a John Doe and John Doe
  2” (Page 1), and accuses us of using aliases to confuse the Court (Page 2). Our pleadings
  (ECF Nos. 329, 330, 331, 332, 333) and Defendant GPS (ECF No. 334) highlight Plainti ’s
  recent prior defamatory claims and misconduct, such as witness intimidation and
  harassment.

  Plainti ’s attorney, Nicholas A. Chiappetta, has reinforced the false narrative in court,
  equating our ﬁlings with Camp’s actions. We are not Joseph A. Camp, have no connection
  to him, and did not engage in the alleged acts. It is also a complete lie that there is any
  connection between Duane Morris LLP, ourselves, or (presumably) Joseph A. Camp -whom
  we have been attempting to reach but cannot-, and all claims of Camp’s misconduct, thus
  far, are false, rendering Plainti ’s statements baseless and defamatory.

  III. LEGAL STANDARD

  Florida law requires ﬁve elements for defamation: (1) publication; (2) falsity; (3) negligence
  or actual malice; (4) actual damage; and (5) a defamatory statement. Jews for Jesus, Inc. v.
  Rapp, 997 So. 2d 1098, 1106 (Fla. 2008). Statements are defamatory per se if they impute
  criminal conduct, harm a person’s profession, or expose them to public hatred. Wolfson v.
  Kirk, 273 So. 2d 774, 777 (Fla. 4th DCA 1973). Defamation per se presumes damages and
  does not require proof of malice unless the person is a public ﬁgure. Mile Marker, Inc. v.
  Petersen Publ’g, L.L.C., 811 So. 2d 841, 845 (Fla. 4th DCA 2002). Non-parties can seek relief
  for defamation tied to litigation. Doe v. Roe, 638 So. 2d at 90. Defamation may arise from
  statements that indirectly identify a person through context or prior associations. Wagner,
  Nugent, Johnson, Roth, Romano, Erikson & Kupfer, P.A. v. Flanagan, 629 So. 2d 113, 115
  (Fla. 1993).

  The Eleventh Circuit applies state defamation law while protecting First Amendment rights.
  Coral Ridge Ministries Media, Inc. v. Amazon.com, Inc., 6 F.4th 1247, 1252 (11th Cir. 2021).
  Injunctive relief is available to stop defamatory statements that cause irreparable harm.
  Zimmerman v. D.C.A. at Welleby, Inc., 505 So. 2d 1371, 1373 (Fla. 4th DCA 1987).

  IV. ARGUMENT
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  A. The Statements Are Defamatory Per Se

  The statements are defamatory per se because, through Plainti ’s explicit identiﬁcation in
  ECF No. 296, they impute to us Joey Camp’s alleged criminal conduct, none of which is
  true, and expose us to public hatred. See Wolfson, 273 So. 2d at 777. Plainti ’s claim that
  Camp created “fake John Does” (Page 2) targets us, as ECF No. 296 (Page 1) names us as
  Camp’s aliases, falsely accusing us of criminal fraud. Attributing racist and threatening
  emails to Camp (Pages 4, 6), which ECF No. 296 (Page 3) ties to us, falsely portrays us as
  committing hate crimes, which is defamatory per se. See Hoch v. Rissman, Weisberg,
  Barrett, 742 So. 2d 451, 457 (Fla. 5th DCA 1999). The linkage in Plainti ’s pleadings makes
  defaming Camp equivalent to defaming us. See Flanagan, 629 So. 2d at 115.

  B. The Elements of Defamation Are Met

     1. Publication: The article was published on a public Substack page with over 2,000
        subscribers, satisfying publication. See Rapp, 997 So. 2d at 1106.

     2. Falsity: The statements are false. We are not Joey Camp, are not his aliases, and did
        not send the emails. All allegations of misconduct against Camp are untrue, as are
        Plainti ’s claims linking us to him, as documented in our pleadings (ECF Nos. 329,
        330, 331, 332, 333).

     3. Negligence or Actual Malice: Plainti acted with actual malice, knowing we are not
        Camp (otherwise he wouldn’t need the subpoena metadata to which he is seeking
        and which invited us to this matter in the ﬁrst istance) and that his allegations
        against Camp are false, or recklessly disregarding the truth, as shown by his
        repeated false pleadings, including ECF No. 296, despite our vigorous objections.
        See New York Times Co. v. Sullivan, 376 U.S. 254, 279-80 (1964).

     4. Actual Damage: The statements are defamatory per se, so damages are presumed.
        Mile Marker, 811 So. 2d at 845. The article’s public reach has harmed our
        reputations and exposed us to harassment.

     5. Defamatory Statement: By identifying us as Camp in ECF No. 296 and linking us to
        his alleged—but false—crimes, the statements impute criminal and unethical acts
        to us, making them defamatory per se. See Wolfson, 273 So. 2d at 777.

  C. Injunctive Relief Is Warranted

  Injunctive relief is necessary to prevent further harm. Plainti ’s article, viewed by
  thousands, and his pleadings (ECF Nos. 296) show he will continue falsely identifying us as
  Camp and attributing fabricated misconduct to us unless stopped. Florida law permits
  injunctions against defamatory statements causing ongoing harm. Zimmerman, 505 So. 2d
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  at 1373. The Eleventh Circuit allows injunctive relief for false statements with minimal First
  Amendment concerns. Falanga v. State Bar of Ga., 150 F.3d 1333, 1339 (11th Cir. 1998).

  D. Prior Pleadings Support This Motion

  Our prior pleadings document only some of Plainti ’s defamatory conduct:

        ECF No. 329 (April 17, 2025): Legal Analysis and Motion for Sanctions noting
         Plainti ’s false claims against us.

        ECF No. 330 (April 17, 2025): Second Motion for Sanctions detailing Plainti ’s
         defamatory harassment.

        ECF No. 331 (April 17, 2025): Notice of Criminal Complaint for Plainti ’s
         defamation.

        ECF No. 332 (April 17, 2025): Memorandum on Florida’s jurisdiction over Plainti ’s
         defamation.

  Plainti ’s ECF No. 296 explicitly equates us with Camp, and ECF No. 334 (Defendants’
  Motion for Sanctions) further notes Plainti ’s ongoing misconduct, supporting our claim.

  V. REQUEST FOR RELIEF

  We respectfully request that the Court:

     1. Find Plainti Danesh Noshirvan liable for defamation per se for the April 21, 2025,
        article, which defames us by falsely identifying us as Joseph A. Camp and attributing
        false misconduct to us, as conﬁrmed by ECF No. 296.

     2. Issue a permanent injunction ordering Plainti to:

            o   Remove the defamatory article from his Substack page.

            o   Cease publishing false statements linking us to Joseph A. Camp or his
                alleged acts.

     3. Award presumed damages for defamation per se and any further relief the Court
        deems just.

  Respectfully submitted,

  /s/ John Doe John Doe, Pro Se
